Case 2:22-cv-09003-MCS-MAR Document 1 Filed 12/12/22 Page 1 of 5 Page ID #:1




  1
      STEPHEN M. LOBBIN
      sml@smlavvocati.com
  2   SML AVVOCATI P.C.
  3
      969 Hilgard Avenue, Suite 1012
      Los Angeles, California 90024
  4   (949) 636-1391 (Phone)
  5
      Attorney(s) for Social Positioning Input Systems, LLC
  6

  7
                             UNITED STATES DISTRICT COURT
  8
                           CENTRAL DISTRICT OF CALIFORNIA
  9

 10                                   WESTERN DIVISION
 11

 12   SOCIAL POSITIONING INPUT                      CASE NO. 2:22-cv-09003
      SYSTEMS, LLC,
 13

 14                 Plaintiff,                      COMPLAINT FOR PATENT
                                                    INFRINGEMENT
 15
             v.
 16
      LIVEVIEWGPS, INC.,                            JURY TRIAL DEMANDED
 17

 18                 Defendant.
 19

 20

 21         Plaintiff Social Positioning Input Systems, LLC (“Plaintiff” and/or SPIS”) files
 22   this complaint against LiveViewGPS, Inc. (“Defendant” and/or “LiveViewGPS”) for
 23   infringement of U.S. Patent No. 9,261,365 (hereinafter the “ ‘365 Patent”) and alleges
 24   as follows:
 25                                          PARTIES
 26         1.      Plaintiff is a Wyoming limited liability company with an address of 1 East
 27   Broward Boulevard, Suite 700, Ft. Lauderdale, FL 33301.
 28

                                                 1
                                 COMPLAINT AGAINST LIVEVIEWGPS, INC.
Case 2:22-cv-09003-MCS-MAR Document 1 Filed 12/12/22 Page 2 of 5 Page ID #:2




  1         2.     On information and belief, Defendant is a California corporation with an
  2   address 29021 Avenue Sherman, Ste. 103, Valencia, CA 91355. On information and
  3   belief, Defendant may be served through its registered agent, George Karonis, 29021
  4   Avenue Sherman, Ste. 103, Valencia, CA 91355.
  5                                JURISDICTION AND VENUE
  6         3.     This action arises under the patent laws of the United States, 35 U.S.C. §
  7   271 et seq. Plaintiff is seeking damages, as well as attorney fees and costs.
  8         4.     Jurisdiction is proper in this Court pursuant to 28 U.S.C. §§ 1331 (Federal
  9   Question) and 1338(a) (Patents).
 10         5.     On information and belief, this Court has personal jurisdiction over
 11   Defendant because Defendant has committed, and continues to commit, acts of
 12   infringement in this District, has conducted business in this District, and/or has engaged
 13   in continuous and systematic activities in this District.
 14         6.     Upon information and belief, Defendant’s instrumentalities that are
 15   alleged herein to infringe were and continue to be used, imported, offered for sale,
 16   and/or sold in this District.
 17         7.     Venue is proper in this District under 28 U.S.C. §1400(b) because
 18   Defendant is deemed to be a resident in this District. Alternatively, acts of infringement
 19   are occurring in this District and Defendant has a regular and established place of
 20   business in this District.
 21                                        BACKGROUND
 22         8.     On February 16, 2016, the United States Patent and Trademark Office
 23   (“USPTO”) duly and legally issued the ‘365 Patent, entitled “Device, System and
 24   Method for Remotely Entering, Storing and Sharing Addresses for a Positional
 25   Information Device.” The ‘365 Patent is attached as Exhibit A.
 26         9.     Plaintiff is currently the owner of the ‘365 Patent.
 27         10.    Plaintiff possesses all rights of recovery under the ‘365 Patent, including
 28   the exclusive right to recover for past, present and future infringement.
                                                   2
                                   COMPLAINT AGAINST LIVEVIEWGPS, INC.
Case 2:22-cv-09003-MCS-MAR Document 1 Filed 12/12/22 Page 3 of 5 Page ID #:3




  1                                        COUNT ONE
  2                   (Infringement of United States Patent No. 9,261,365)
  3         11.    Plaintiff refers to and incorporates the allegations in Paragraphs 1 - 10, the
  4   same as if set forth herein.
  5         12.    This cause of action arises under the patent laws of the United States and,
  6   in particular under 35 U.S.C. §§ 271, et seq.
  7         13.    Defendant has knowledge of its infringement of the ‘365 Patent, at least
  8   as of the service of the present complaint.
  9         14.    The ‘365 Patent is valid, enforceable, and was duly issued in full
 10   compliance with Title 35 of the United States Code.
 11         15.    Upon information and belief, Defendant has infringed and continues to
 12   infringe one or more claims, including at least Claim 1, of the ‘365 Patent by providing
 13   (as identified in the Claim Chart attached hereto as Exhibit B) many products of
 14   tracking and management methods for monitoring real-time GPS locations to receive
 15   real-time locations of vehicles (i.e., location information) through one or more
 16   positional information devices (e.g., desktop or mobile devices) (“Product”), which
 17   infringes at least Claim 1 of the ‘365 Patent. Defendant has infringed and continues to
 18   infringe the ‘365 patent either directly or through acts of contributory infringement or
 19   inducement in violation of 35 U.S.C. § 271.
 20         16.    Defendant also has and continues to directly infringe, literally or under the
 21   doctrine of equivalents, the Exemplary ‘365 Patent Claims, by having its employees
 22   internally test and use these Exemplary Products.
 23         17.    The service of this Complaint, in conjunction with the attached claim chart
 24   and references cited, constitutes actual knowledge of infringement as alleged here.
 25         18.    Despite such actual knowledge, Defendant continues to make, use, test,
 26   sell, offer for sale, market, and/or import into the United States, products that infringe
 27   the ‘365 Patent. On information and belief, Defendant has also continued to sell the
 28   Exemplary Defendant Products and distribute product literature and website materials
                                                3
                                COMPLAINT AGAINST LIVEVIEWGPS, INC.
Case 2:22-cv-09003-MCS-MAR Document 1 Filed 12/12/22 Page 4 of 5 Page ID #:4




  1   inducing end users and others to use its products in the customary and intended manner
  2   that infringes the ‘365 Patent. See Exhibit B (extensively referencing these materials to
  3   demonstrate how they direct end users to commit patent infringement).
  4         19.    At least since being served by this Complaint and corresponding claim
  5   chart, Defendant has actively, knowingly, and intentionally continued to induce
  6   infringement of the ‘365 Patent, literally or by the doctrine of equivalents, by selling
  7   Exemplary Defendant Products to their customers for use in end-user products in a
  8   manner that infringes one or more claims of the ‘365 Patent.
  9         20.    Exhibit B includes at least one chart comparing the Exemplary ‘365 Patent
 10   Claims to the Exemplary Defendant Products. As set forth in this chart, the Exemplary
 11   Defendant Products practice the technology claimed by the ‘365 Patent. Accordingly,
 12   the Exemplary Defendant Products incorporated in this chart satisfy all elements of the
 13   Exemplary ‘365 Patent Claims.
 14         21.    Plaintiff therefore incorporates by reference in its allegations herein the
 15   claim chart of Exhibit B.
 16         22.    Plaintiff is entitled to recover damages adequate to compensate for
 17   Defendant's infringement.
 18         21.    Defendant’s actions complained of herein will continue unless Defendant
 19   is enjoined by this court.
 20         22.    Defendant’s actions complained of herein are causing irreparable harm
 21   and monetary damage to Plaintiff and will continue to do so unless and until Defendant
 22   is enjoined and restrained by this Court.
 23         23.    Plaintiff is in compliance with 35 U.S.C. § 287.
 24                                    PRAYER FOR RELIEF
 25         WHEREFORE, Plaintiff asks the Court to:
 26         (a)   Enter judgment for Plaintiff on this Complaint on all cases of action
 27   asserted herein;
 28

                                                   4
                                   COMPLAINT AGAINST LIVEVIEWGPS, INC.
Case 2:22-cv-09003-MCS-MAR Document 1 Filed 12/12/22 Page 5 of 5 Page ID #:5




  1         (b)     Enter an Order enjoining Defendant, its agents, officers, servants,
  2   employees, attorneys, and all persons in active concert or participation with Defendant
  3   who receives notice of the order from further infringement of United States Patent No.
  4   9,261,365 (or, in the alternative, awarding Plaintiff running royalty from the time
  5   judgment going forward);
  6         (c)   Award Plaintiff damages resulting from Defendant’s infringement in
  7   accordance with 35 U.S.C. § 284; and
  8         (d) Award Plaintiff such further relief to which the Court finds Plaintiff entitled
  9   under law or equity.
 10                               DEMAND FOR JURY TRIAL
 11         Plaintiff, under Rule 38 of the Federal Rules of Civil Procedure, requests a trial
 12   by jury of any issues so triable by right.
 13

 14   Dated: December 12, 2022                Respectfully submitted,
 15
                                              /s/ Stephen M. Lobbin
 16

 17                                           Attorney(s) for Plaintiff

 18

 19

 20

 21

 22

 23

 24

 25

 26

 27

 28

                                                5
                                COMPLAINT AGAINST LIVEVIEWGPS, INC.
